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                                                               Attorneys for Plaintiffs Kristin K. Mayes and State
                                                          6    of Arizona
                                                          7
                                                          8                                UNITED STATES DISTRICT COURT

                                                          9                                         DISTRICT OF ARIZONA

                                                          10   Kristin K. Mayes, in her official capacity as      No. 2:21-CV-01568-MTL
Gallagher & Kennedy, P.A.
                            Phoenix, Arizona 85016-9225
                             2575 East Camelback Road




                                                               Attorney General of Arizona; et al.,
                                                          11                                                      UNOPPOSED MOTION TO
                                   (602) 530-8000




                                                                                      Plaintiffs,                 CONTINUE JANUARY 19, 2023
                                                          12                                                      STATUS CONFERENCE
                                                               v.
                                                          13
                                                               Joseph R. Biden in his official capacity as
                                                          14   President of the United States et al.,
                                                          15                          Defendants.
                                                          16
                                                          17            Plaintiffs State of Arizona and Kristin K. Mayes1 in her official capacity as

                                                          18   Attorney General of Arizona respectfully ask the court to continue the status conference

                                                          19   scheduled for January 19, 2023 by approximately two weeks.

                                                          20            Pursuant to the Court’s minute entry, the purpose for the status conference is to

                                                          21   discuss how the case should proceed under the Office of the Attorney General’s new

                                                          22   leadership. [Dkt. 238, 240.] The Office of the Attorney General has been working on this

                                                          23   matter but requests additional time to reach a decision as to how the case should proceed.

                                                          24   Accordingly, Plaintiffs seek a short continuance of the status conference for

                                                          25
                                                               1
                                                          26    Pursuant to Fed. R. Civ. P. 25(d), Kristin K. Mayes is automatically substituted in as
                                                               Plaintiff in place of former Attorney General Mark Brnovich.
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1    approximately two weeks to February 2, 2023 or another date that is convenient for the
2    Court.
3             Counsel for Defendants stated that they consent to the requested continuance.
4             A proposed form of order is lodged herewith.
5             RESPECTFULLY SUBMITTED this 17th day of January, 2023.
6                                                   GALLAGHER & KENNEDY, P.A.
7
8
                                                    By:/s/Hannah H. Porter
9                                                      Kevin E. O’Malley
                                                       Hannah H. Porter
10                                                     2575 East Camelback Road
11                                                     Phoenix, Arizona 85016-9225

12
13
14
                                   CERTIFICATE OF SERVICE
15
            I certify that on this 17th day of January 2023, a PDF copy of the foregoing was
16   electronically transmitted to the Clerk of the Court using the CM/ECF System for filing
     and transmittal of a Notice of Electronic Filing.
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     /s/D. Ochoa
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